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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                          Case No. 21-60859-CIV-ALTMAN/HUNT

  ABS HEALTHCARE SERVICES
  LLC, et al.,

        Plaintiffs,

  v.

  ANDREW SHADER, et al.,

       Defendants.
  __________________________________/

                           REPORT AND RECOMMENDATION

        THIS CAUSE is before this Court on Defendants’ Joint Motion to Temporarily Lift

  Stay and for Imposition of Sanctions (“Motion”), ECF No. 52. The Honorable Roy K.

  Altman referred the Motion to the undersigned for a Report and Recommendation. See

  ECF No. 69; 28 U.S.C. § 636; S.D. Fla. L.R., Mag. R. 1. Upon thorough review of the

  record, the Motion, Response and Reply thereto, the hearing that took place on

  November 4, 2021, and the applicable law, the undersigned respectfully RECOMMENDS

  that Defendants’ Joint Motion, ECF No. 52, be DENIED for the reasons set forth below.

                                      BACKGROUND

        Plaintiffs brought this action under the Racketeer Influenced and Corrupt

  Organizations Act (“RICO”), 18 U.S.C. § 1962, alleging that Defendants committed mail

  and wire fraud, stole trade secrets, engaged in commercial bribery, committed

  racketeering by virtue of these acts, and committed RICO conspiracy. ECF No. 1. On

  June 4, 2021, Defendants jointly moved to dismiss the complaint and/or compel Plaintiffs

  to arbitrate all claims and stay the action pending the resolution of the arbitration. ECF
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  No. 34. In the Motion to Dismiss, Defendants raised arguments that: Plaintiffs were

  claim-splitting and relitigating issues that are raised in similar actions; this action

  implicates Rooker-Feldman and Colorado River abstention doctrines; Plaintiffs were

  engaging in vexatious litigation; the case should be dismissed for failure to state a

  plausible claim; or, as an alternative, the action should be arbitrated. ECF No. 34.

  Plaintiffs responded that they consented to the arbitration. ECF No. 49. Defendants’

  reply attacked Plaintiffs’ consent to arbitration as a ploy and requested that the Court

  dismiss the complaint. ECF No. 50. The District Court granted Defendants’ Motion to

  Dismiss in part, based on Plaintiffs’ consent, to the extent that the Motion sought to

  compel arbitration. ECF No. 51. The Court stayed the case pending the outcome of the

  arbitration and closed the case for administrative purposes. ECF No. 51. The District

  Court acknowledged Defendants’ request that the Court reach the merits of the Motion to

  Dismiss based on the same allegations Defendants raise in the instant motion. ECF No.

  51 at 1 n.1. The District Court declined to reach the merits of the Motion and noted that

  it “will retain jurisdiction to entertain (at a later date) any other relief the parties may seek.

  This relief might include, for instance, any of the various kinds of redress the Defendants

  seem to seek through their Reply.” ECF No. 51 at 1 n.1 (emphasis added).

         Four days later, Defendants filed the instant motion seeking to reopen the case

  and impose many of the same sanctions they sought in their Reply in support of the

  Motion to Dismiss. ECF No. 52. Plaintiffs filed a response in opposition and Defendants

  filed a reply in support of the instant motion. This Court held a hearing on the Motion on

  November 4, 2021.




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                                          DISCUSSION

  Parties’ Arguments

         Defendants request that this Court reopen the case and impose sanctions

  pursuant to the Court’s inherent power against Plaintiffs by dismissing the case and

  awarding Defendants attorneys’ fees and costs.           Defendants contend that Plaintiffs

  brought this action in bad faith solely to disparage Defendants and ruin their reputation.

  In support, Defendants argue that Plaintiff has filed ten other lawsuits and at least one

  arbitration proceeding based on the same core of operative facts. Defendants further

  state that other courts have compelled Plaintiffs to arbitrate four of the lawsuits; one action

  is currently stayed pending resolution of another lawsuit; Plaintiffs have failed to serve the

  defendants in two of the lawsuits; and another suit was settled. Defendants allege that

  after Florida’s Third District Court of Appeal compelled arbitration, Plaintiffs no longer had

  an active court case and could not seek unfettered discovery. Defendants further allege

  that the Third District Court of Appeal compelling arbitration spurred Plaintiffs to file the

  instant action which is a repackaging of claims from the related actions disguised as RICO

  claims. Defendants contend that the filing of the instant action immediately after the Third

  District Court of Appeal compelled arbitration illustrates Plaintiffs’ bad faith.

         Defendants next argue that Plaintiffs’ efforts to publicize this action further reveal

  their bad faith. Defendants point to a Lawstreetmedia.com news article that discussed

  the action the day after Plaintiffs filed the instant suit. Defendants claim that this article

  seems to be a press release by Plaintiffs. Defendants allege that this journalist has written

  an article previously about Plaintiffs’ counsel, and argue that Plaintiffs and the journalist

  must have worked in concert on the article. Defendants argue that after months of no



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  change in the action, Plaintiffs consented to arbitration only after publicly disparaging

  Defendants through a public filing. Lastly, Defendants also argue that Plaintiffs’ claims

  have been disproven in the related actions and that this RICO lawsuit is a frivolous filing

  with no merit.

         Plaintiffs respond that Defendants are seeking to relitigate their motion to dismiss

  and that they are the ones who are using improper litigation techniques. Plaintiffs claim

  that two days after filing this Motion, Defendants, using a shell company with the same

  counsel, initiated an action against Plaintiffs in California. Plaintiffs contend that they had

  every right to file this case and that none of the other cases brought involved RICO claims.

  Next, Plaintiffs state that they consented to arbitration based on Defendants’ Motion to

  Dismiss because that was the first time that Defendants expressed their willingness to

  arbitrate the claims. Plaintiffs next argue that it is the Defendants who are issuing

  defamatory press releases. Plaintiffs claim that, two days after filing the instant motion,

  the signatory to the motion for sanctions was quoted numerous times in a formal press

  release issued by Defendants. In contrast, Plaintiffs claim they never spoke to the woman

  who wrote the article regarding the lawsuit. Plaintiffs explain that although this woman

  may have written about them previously, the matter she reported on was a 2.6 billion

  dollar settlement that multiple outlets reported. Next, Plaintiffs argue that they had every

  right to file the claims in federal court rather than with an arbitrator because Defendants

  have flip-flopped their position in each lawsuit regarding arbitration, moving to compel in

  some and not in others. Plaintiffs further argue that the lawsuits have not all been brought

  against all the Defendants multiple times. In fact, eight out of the fifteen Defendants in

  this action are not a part of any other lawsuit. Finally, Plaintiffs contend that they have a



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  meritorious RICO filing and that this action is not frivolous.

         The Court held a hearing on the Motion on November 4, 2021 where counsel for

  both Parties provided oral argument. The Court questioned the Parties on an issue that

  arose in one of their supposed “joint status reports.” In the status report, a few of the

  Defendants asked the District Court whether they were supposed to go to a new

  arbitration based on the federal action or join this action with an already ongoing

  arbitration. See ECF Nos. 66 at 2–3; 77 at 10. The Court questioned the parties as to

  why they did not file a motion for clarification instead of burying the question in a status

  report. ECF No. 77 at 10. On this limited issue, the undersigned ordered the Parties to

  confer and determine whether a motion for clarification needed to be filed. ECF No. 77

  at 12–13. 1

  Analysis

         After reviewing the pleadings, an overarching question that the undersigned

  proposed to Defendants during the hearing, was “why now?” The undersigned asked

  Defendants’ counsel this question many times, and is unconvinced by the answers from

  Defendants’ counsel. Those answers consisted of: that the action is nothing more than

  “barratry”; the filing of a RICO complaint is the equivalent of a “thermonuclear bomb”;

  counsel for Defendants have accumulated a large amount of fees; and Plaintiffs could

  have raised these RICO claims in other actions but chose to do so now to continue their



  1. Following the hearing, the Parties filed a notice that they complied with the Court’s
  Order and conferred. ECF No. 75. Plaintiffs offered to consolidate this arbitration with
  the “Shader Arbitration.” ECF No. 75 at 1. Defendants required ten days to confer with
  their clients to determine whether they wish to consolidate the arbitrations. ECF No. 75
  at 1. On November 23, 2021, the Parties notified the Court that they have submitted the
  action to binding arbitration. ECF No. 78. The Parties agreed that this matter should be
  consolidated with another arbitration. ECF No. 78.
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  vexatious litigation tactics. While these contentions may eventually be proven to be true,

  they do not answer the simple question the undersigned posed.

         The evidentiary standard governing use of a court's inherent power varies with the

  nature of the sanction imposed. In re Brican Am. LLC Equip. Lease Litig., 977 F. Supp.

  2d 1287, 1293 n.6 (S.D. Fla. 2013). “Any fundamentally penal sanctions—dismissals and

  default judgments, as well as contempt orders, awards of attorneys' fees, and the

  imposition of fines—require proof by clear and convincing evidence.” Id. (citation and

  internal quotations omitted). Further, “[t]he key to unlocking a court’s inherent power is a

  finding of bad faith.” Sutakovic v. CG RYC, LLC, No. 18-20125-CIV-WILLIAMS/TORRES,

  2018 WL 2766206, at *6 (S.D. Fla. June 8, 2018).

         Here, the undersigned finds that not only would it be premature to impose such

  severe penal sanctions using the Court’s inherent power, but also that Defendants have

  not met their burden of showing either bad faith or proof by clear and convincing evidence.

  Upon review, it appears that the District Court’s Order expected the Parties to arbitrate,

  and only after arbitration and only if necessary, then seek any potential additional relief.

  The District Court ordered the Parties to arbitrate the action four months ago, but the

  Parties only recently submitted the action for arbitration. 2 Thus, it is premature for this

  Court to entertain imposing such penal sanctions until after arbitration, and, even then,

  only upon proof by clear and convincing evidence.

         Therefore, the undersigned recommends that Defendants’ Motion be DENIED

  without prejudice at this time. However, the undersigned further recommends that the



  2. Additionally, the District Court ordered the Parties to file “joint” status reports regarding
  arbitration; however, after reviewing the status reports they are a far cry from being joint.
  The status reports consist of attacks by both Parties and do not aid the Court in any way.
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  Court continue to retain jurisdiction to allow Defendants to reraise these issues, if

  necessary, after the Parties arbitrate.

                                    RECOMMENDATION

          Based on the foregoing, the undersigned RECOMMENDS that Defendants’ Joint

  Motion for Sanctions, ECF No. 52, be DENIED without prejudice.

          Within fourteen (14) days after being served with a copy of this Report and

  Recommendation, any party may serve and file written objections to any of the above

  findings and recommendations as provided by the Local Rules for this district. 28 U.S.C.

  § 636(b)(1); S.D. Fla. Mag. R. 4(b). The parties are hereby notified that a failure to timely

  object waives the right to challenge on appeal the District Court’s order based on

  unobjected-to    factual   and   legal    conclusions   contained   in   this   Report   and

  Recommendation. 11th Cir. R. 3–1 (2018); see Thomas v. Arn, 474 U.S. 140 (1985).

          DONE AND SUBMITTED at Fort Lauderdale, Florida this 23rd day of November
  2021.



                                             _____________________________________
                                             PATRICK M. HUNT
                                             UNITED STATES MAGISTRATE JUDGE
  Copies furnished to:
  Honorable Roy K. Altman
  All Counsel of Records




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